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US. DISTRICT COURT - N.D. OF N.Y.
—<—
AO 91 (Rev. 11/11) Criminal Complaint st AA! h a) 223
UNITED STATES DISTRICT COURT —
for the AT. orcLOCK___
Northern District of New York John M. Domurad, Clerk - Syracuse
UNITED STATES OF AMERICA )
Vv. ) , * i :
Charles Bodie ) Case No. iB A3- 7) TX SF C7udb)
)
)
)
)
Defendant(s) )

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of April 2022 through the present in the county of Otsego in the Northern District of

New York the defendant(s) violated:

Code Section Offense Description
18 U.S.C. 225 I (a) Sexual exploitation of a child

This criminal complaint is based on these facts:
See attached affidavit

& Continued on the attached sheet.
Goa SS

Complainant's signature

Timothy Irving, HSI Special Agent

Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Brocedure.
owe May of, 2023
/ Jddge’s signature

City and State: Syracuse, NY Hon. Thérése Wiley Dancks, U.S. Magistrate Judge

Printed name and title

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I, Timothy W. Irving, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

1. I am an investigative or law enforcement officer of the United States, within the
meaning of Section 2510(7) of Title 18, United States Code.

2. Tama Special Agent with the Department of Homeland Security (OHS) Homeland
Security Investigations (HSI) in Albany, New York and have been employed in this capacity for
since April 2007. 1 was previously employed as a Customs and Border Protection Officer in
Alexandria Bay, New York, and as a Customs and Border Protection Agriculture Specialist in
Boston, Massachusetts. In my capacity as a federal agent, I have investigated criminal violations
relating to the sexual exploitation of children, including the production, receipt, and possession of
child pornography. I have had the opportunity to observe and review numerous examples of child
pornography, as defined in Title 18, United States Code, Section 2256.

3. As an HSI Special Agent, I am authorized to seek and execute federal arrest and search
warrants for Title 18 criminal offenses.

4. I make this affidavit in support of a criminal complaint charging Charles Bodie with
violating Title 18, United States Code, Section 2251(a) (Sexual Exploitation of a Child) in that Bodie
did employ, use, persuade, induce, entice, and coerce a then 14 (and later 15) year-old female (“V-
1”) to engage in sexually explicit conduct for the purpose of producing a visual depiction of that
conduct. .

5. The statements contained in this affidavit are based upon my investigation,

information provided by other law enforcement officers, and my experience and training as an HSI
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Agent. Because this affidavit is being submitted for the limited purpose of supporting a criminal
complaint, I have not included every fact known to me concerning this investigation. I have set forth
only the facts that I believe are necessary to establish probable cause to believe that Bodie has
violated Title 18, United States Code, Section 2251 (a).

PROBABLE CAUSE

6. On November 5, 2022, Individual 1 contacted the Otsego County Sheriff’s Office and
reported that (V-1) (his daughter) had had sexual intercourse with Bodie. V-1 was forensically
interviewed at the Otsego County Child Advocacy Center and disclosed that Bodie had inserted his
penis into her vagina on three occasions from the time that she was 13 years old to the time she was
15 years old and that she had sent sexually explicit images of herself to Bodie upon his request while
she was 14 and 15 years old. The Otsego County Sheriff’s Office contacted your affiant for assistance
with the investigation.

7. On December 14, 2022, your affiant received consent to search V-1’s iPhone XR.
Your affiant also interviewed V-1. She said, among other things, that she had sent Bodie images and
videos of her vagina in text messages between April of 2022 and August of 2022, and that she had
deleted some of the messages. The iPhone XR data was extracted utilizing Cellebrite on December
15, 2022. Your affiant reviewed the extracted data and found evidence that V-1 and Bodie exchanged
sexually suggestive text messages between December 16, 2021, and October 4, 2022. It was evident
from the Cellebrite extraction that several parts of the text message thread had been deleted.

8. Among other sexually explicit messages recovered from V-1’s iPhone XR were the
following on June 21, 2022, during which time V-1 and Bodie also exchanged image and video MMS

messages:
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9.

Bodie: Slam it right in there fast and hard
Bodie: Looks a [il wet

-Vel: I wish

V-1: Ya that’s your fault lol

Bodie: I just gave u a pic to help wit the vid
Bodie: Imagine that slipping in and out
V-1: I wish I could have him right here rn
V-1: I’m going to have to change again lol
Bodie: Cause ur wet

V-1: Getting there

Minor: I have a question for you

V-1: Cause u want it licked

Your affiant also reviewed image files extracted from V-1’s iPhone XR. There were

three images of child pornography and one image of child erotic depicting V-1 sent by V-1 to Bodie.'

10.

a)

b)

File Name: cpl[ASOgzdqXsZHB livUK2jIRUNEIf0_.JPEG

Created: 06/23/2022, 16:39:39 UTC-4

Description: V-1 standing nude wearing only a garter belt with her breast and vagina
are exposed in a lewd and lascivious fashion.

File Name: cplAZPO+jy43_Xwmxte7ayF5gQS_M20.JPEG
Created: 06/23/2022, 16:33:30 UTC-4
Description: V-1 uses her fingers to spread open her vagina.

File Name: cplAQc55+zEAxHC970AUdK IK goNsKXs.JPEG
Created: 06/23/2022, 16:33:11 UTC-4
Description: V-1 uses her fingers to spread open her vagina.

On January 5, 2023, V-1’s mother contacted your affiant and said that V-1 had

disclosed to her that V-1 had taken photographs with an iPhone 6 Plus of the text messages she had

exchanged with Bodie on V-1’s iPhone XR. Your affiant conducted a manual review of V-1’s iPhone

6 Plus and observed that some of the text message threads recovered from the iPhone XR were

depicted in images saved on the iPhone 6 Plus, consistent with V-1’s statement that she had used the

' The image and video files described in this affidavit are available for the Court’s review upon

request.
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iPhone 6 Plus to take pictures of her messages with Bodie on her iPhone XR. The images of the text
message thread between Bodie and V-1 also contained child pornography images within them, as
well as images of Bodie’s face, body, and penis.

11. For example, on or about April 6, 2022, Bodie and V-1 exchanged text messages,
images, and videos using MMS (multimedia messaging service). V-1 sent Bodie nine MMS messages
that contained image and video attachments, and Bodie sent V-1 five MMS messages that contained
image attachments. Below is a sample of some of the text message thread.

Bodie: | trust u to keep our conversation between us. And this will
prove you trust me also.

V-1: But what if I do it wrong again

Bodie: How do ya do it wrong

Bodie: It’s a pic sent it ¢o me

Bodie: Ya got the other one to me”

V-1: How do you know it I’m doing it right if it’s not in a video his
isinavideo

Bodie: I’m just saying just send a pic of those muscles but so I see
them

V-1: Ok like this

V-1: (Image of V-1’s arms under her breasts wearing a black shirt)
V-1: Did I do it wrong

Bodie: Cant see through that

Bodie: Wats with the blurred out comer

V-1: The dog

Bodie: Oh

Bodie: Still cant see em

V-1: I have nothing that you can see through

Bodie: Just nothing is wat I’m saying

V-1; Lol I have nothing

Bodie: Skin

V-1: I no what you mean but you have to promise me you will delete
it and you can’t tell no one like no one and you really have to keep
those promises .

Bodie: Yes I promise to delete and yes just like I said no one ever
hears our conversation

V-1: (Image of V-1 topless with her hair covering her breasts)
Bodie: C-mon move the hair
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Bodie: You still there

V-1: (Image of V-1 topless with her arms covered over her breasts
and her face drawn over in pink)

Bodie: I would love if u would not cover them and not cross your
face out .

Bodie: That same pic not covering them or marking ur face out
would be perfect

V-1: I don’t like them

Bodie: I’m sure I will

Bodie: Gotta remember this is just between us no one else

V-1: (Image of V-1 topless with her breasts exposed)

V-1: Fine your Dink

Bodie: U mean dick

V-1: Ya

Bodie: (Image of Bodie’s erect penis)

Bodie: Now its ur turn

Bodie: Well wat do ya rhink

V-1: (mage taken from above of V-1’s vagina with her legs
together)

Bodie: If were doing this I didn’t-hide nothing so open them legs
and let’s see it

V-1: (image of V-1 vagina’s displayed in a lewd and lascivious
fashion)

Bodie: Do you rub that

Bodie: Ok even though I asked u first I will tell ya. U rubbing it an
popping and vide it and send it to me
V-1: (Video of V-I placing her hand on her vagina)
12. Based on a review of the phone records and the information obtained from V-1’s

iPhone XR and iPhone Six Plus, the following additional media files were exchanged between V-1

and Bodie:?

2 On November 28, 2022, Investigator Anthony Grimes obtained a New York State search warrant

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a. On or about April 22, 2022, and April 23, 2022, V-1 sent Bodie an image of
her vagina and an image of her breasts, and Bodie sent V-1 an image of his hand on his penis.

b. On or about May 5, 2022, and May 6, 2022, V-1 sent Bodie an image of her
breasts and vagina.

Cc. On or about May 18, 2022, and May 19, 2022, V-1 sent Bodie an image of
her naked with her breasts exposed in the shower, and Bodie sent V-1 an image of his penis.

d, On or about June 3, 2022, and June 4, 2022, V-1 sent Bodie an image of her
vagina being spread open with her fingers, and Bodie sent V-1 an image of his penis sticking out of
his boxer shorts and two images of his hand on his erect penis.

e. On or about June 7, 2022, and June 8, 2022, V-1 sent Bodie an image of
breasts and vagina.

13. On January 31, 2023, V-1 was interviewed at the Otsego County Child Advocacy
Center and shown images from the iPhone 6 Plus of the text message thread between her and Bodie.
V-1 identified herself as the female in the images and Bodie as the male. Among other things, the
images included sexually explicit material (i.e., images of V-1’s vagina and of V-1 masturbating and
of Bodie’s erect penis) recovered from V-1’s iPhone 6 Plus.

14. On March 18, 2023, Bodie was arrested on Interstate 86 near Corning, NY by the New
York State Police based on arrest warrants for violating New York Penal Law § 130.45, Criminal

Sex Act in the Second Degree, and New York Penal Law § 130.30, Rape in the Second Degree related

for certain account information concerning Bodie’s cellular number (XXX) XXX-1982. On
December 15, 2022, Verizon Wireless provided the requested records.

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to his conduct with V-1. Bodie’s Samsung Galaxy $8 Plus was taken into evidence. On March 19,
2023, Bodie posted bail and was released.

15. On March 21, 2023, this court issued a search warrant for Bodie’s Samsung Galaxy
S8 + cellular phone. Some of the evidence found on that device includes the following:

a. On May 25, 2022, Bodie sent V-1 a text message that read: “Was that all I
getting[.]” This same message also was located on V-1’s iPhone XR. Bodie had deleted this message
on his phone, but it was recovered as part of the data extraction.

b. An image of Bodie with his hand on his penis with a gray-green and orange
sleeping bag in the background. A visually identical image also was located on V-1’s iPhone 6 Plus.
The file path of the image on Bodie’s phone indicates that it was used in an MMS. The file’s created
date on V-1’s iPhone 6 Plus was April 23, 2022, and on Bodie’s device it had a modified date of
April 23, 2022.3

c. An image of V-1’s fingers on her vagina, which also was on V-1’s iPhone 6
Plus within a text message string exchanged between her and Bodie. The file path on Bodie’s phone
indicates that this image was used in an MMS. The image has a created date of June 4, 2022, on V-
1’s iPhone 6 Plus and a modified date of June 1 1, 2022, on Bodie’s Samsung Galaxy S8 +.

d. Several other sexually explicit images of V-1 were located on Bodie’s phone,

including an image of V-1 nude with the focus on her breasts and vagina, and an image of V-1 laying

3 On March 24, 2023, the Western District of New York issued a search warrant for Bodie’s Jayco
Sth Wheel Camper. On April 3, 2023, the gray-green and orange sleeping bag depicted in this images
was found inside the camper.
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on her back nude with her fingers on her vagina masturbating, both images file paths indicate that

they were used in an MMS message.

CONCLUSION

16. Based upon the above, your affiant respectfully submits that there is probable cause

to believe that Bodie violated Title 18, United States Code, Section 2251 (a).

ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS OF
RULE 4.1 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

Timothy Irving
Special Agent
Homeland Security Investigations

I, the Honorable, Thérése Wiley Dancks, hereby acknowledge that this affidavit was attested to by
the affiant by telephone on May A; 2023, in accordance with Rule 4.1 of the Federal Rules of
Criminal Procedure.

lil —

Her. Thérése Wiley Dancks
U.S. Magistrate Judge

